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                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION


  MARY FAISON, CRAIG FAISON,
  KE’OSHA AVERY, and OMAR GARRETT,
                Plaintiff(s),                      CIVIL ACTION FILE

  vs.                                               NO. 1:19-cv-00814-SCJ

  CLINTON W. RATLIFF, WAL-MART
  STORES EAST, LP, and d/b/a Walmart,
  7001 Concourse Pkwy., Douglasville, GA,
                  Defendant(s).



                                           JUDGMENT

        This action having come before the court, Honorable Steve C. Jones, United States

District Judge, for consideration, it is

        Ordered and Adjudged that the action is DISMISSED with prejudice for failure to

state a claim.

        Dated at Atlanta, Georgia, this 2nd day of March, 2021.


                                                        JAMES N. HATTEN
                                                        CLERK OF COURT


                                                  By: s/Barbara D. Boyle
                                                      , Deputy Clerk

Prepared, Filed, and Entered
in the Clerk’s Office
March 2, 2021
James N. Hatten
Clerk of Court

 By: B. D. Boyle
     Deputy Clerk
